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 4
      Attorney for Defendant
 5    JOSE CONTRERAS-RODRIGUEZ
      (aka JORGE CORONA-RAMIREZ)
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,
11                                                       2:09-CR-244-MCE
                     Plaintiff,
12
     v.
13                                                       STIPULATION AND ORDER TO
                                                         CONTINUE JUDGMENT AND
14   JOSE CONTRERAS RODRIGUEZ, et al.,                   SENTENCING
15                   Defendants.

16
17
18
                                                STIPULATION
19
             Plaintiff, United States of America, by and through its counsel, Assistant United States
20
     Attorney Todd Leras, and defendant, Jose Contreras-Rodriguez, by and through his counsel, Erin J.
21
     Radekin, agree and stipulate to vacate the date set for judgment and sentencing, November 18, 2010
22
     at 9:00 a.m., in the above-captioned matter, and to continue judgment and sentencing to December 9,
23
     2010 at 9:00 a.m. in the courtroom of the Honorable Morrison C. England, Jr.
24
             The reason for this request is that additional time is for the defense and the government to
25
     prepare for sentencing. The Court is advised that Mr. Leras concurs with this request and has
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     authorized Ms. Radekin to sign this stipulation on his behalf.
27
             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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     ///
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 1 IT IS SO STIPULATED
 2 Dated: November 16, 2010                            BENJAMIN WAGNER
                                                       United States Attorney
 3
                                                 By:         /s/ Todd Leras
 4                                                     TODD LERAS
                                                       Assistant United States Attorney
 5
 6 Dated: November 16, 2010                                  /s/ Erin J. Radekin
                                                       ERIN J. RADEKIN
 7                                                     Attorney for Defendant
                                                       JOSE CONTRERAS-RODRIGUEZ
 8
 9
                                                ORDER
10
            IT IS HEREBY ORDERED that judgment and sentencing currently scheduled for November
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     18, 2010 be VACATED and the matter continued to December 9, 2010 at 9:00 a.m. for judgment and
12
     sentencing.
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14
15    Dated: November 17, 2010

16                                              ________________________________
                                                MORRISON C. ENGLAND, JR.
17                                              UNITED STATES DISTRICT JUDGE
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